Order Form (01/2005)   Case: 1:07-cv-02714 Document #: 5 Filed: 05/23/07 Page 1 of 1 PageID #:42

                              United States District Court, Northern District of Illinois

     Name of Assigned Judge         William J. Hibbler       Sitting Judge if Other
        or Magistrate Judge                                   than Assigned Judge

   CASE NUMBER                          07 C 2714                        DATE                      5/23/2007
            CASE                        STARICE BRIGGS, et al. Vs. WEST SUBURBAN HOSP. , et al.
            TITLE

  DOCKET ENTRY TEXT

  United States’ motion to dismiss for failure to exhaust administrative remedies is granted. This case is
  remanded to the Circuit Court of Cook County. All pending dates and motions are terminated as moot.




                                                                                                            Docketing to mail notices.

  00:02




                                                                                      Courtroom Deputy                 JHC
                                                                                                Initials:




07C2714 STARICE BRIGGS, et al. Vs. WEST SUBURBAN HOSP. , et al.                                                            Page 1 of 1
